Case 1:24-cv-00496-JAO-WRP   Document 49-1   Filed 03/18/25   Page 1 of 42
                             PageID.1293




                    Exhibit 1
    Case 1:24-cv-00496-JAO-WRP                  Document 49-1            Filed 03/18/25         Page 2 of 42
                                                PageID.1294


    Infants’ Contracts: Law and Policy in the 18th and

                                          19th Centuries

Richard Austen-Baker and Kate Hunter *



Abstract: Under English law, prior to 1970 young people up to the age of twenty-one lacked
the capacity to make binding contracts, subject to certain exceptions. The report of the Latey
Committee on the Age of Majority, which had recommended a reduction to age eighteen, was
one-sided and, so far as capacity to make contracts was concerned, offered scant evidence as
to the motivations of the existing law. The Committee heard evidence from the Church
asserting, with no evidence, that such rules were intended to control young people and were
there to protect the interests of others. This article argues, especially from analysis of the
relevant case law during the 18th and 19th centuries – the principal period of development of
English jurisprudence on minors’ contracts – that the law’s motivation had in reality been to
protect infants from themselves and from adults who sought to prey on their naivety and
impulsiveness.



                                                 Introduction

With the coming into force on 1 January 1970 of section 1 Family Law Reform Act 1969,

which lowered the age of majority from twenty-one years to eighteen years, the question of

infants’ contracts effectively disappeared as one of interest to the courts of England and

Wales. Since mediaeval times, as Simpson concisely puts it, ‘all contracts made by infants


*
    Senior Lecturer in Law, Lancaster University Law School and late Associate Lecturer, Lancaster University

Law School, respectively. The authors are grateful to Professor David Milman, Lancaster University Law

School, for kindly commenting on this article in draft. Any errors, inadequacies or infelicities remaining are, of

course, entirely the responsibility of the authors themselves.
    Case 1:24-cv-00496-JAO-WRP                 Document 49-1             Filed 03/18/25         Page 3 of 42
                                               PageID.1295


were voidable at the option of the infant either at once or on attaining his majority’, 1 though

the common law developed considerably from the 17th century onwards and Parliament

began to legislate with the Infants Relief Act 1874.

           It should also be noted that although the change in the contractual status of eighteen-

to-twenty-one year-olds coincided with the reduction in the voting age in the United

Kingdom from twenty-one to eighteen years, under the Representation of the People Act

1969, the two issues were separate and the one did not follow from the other.

           The Latey Committee on the Age of Majority, set up by the Wilson government under

the chairmanship of Sir John Latey, which recommended the reduction in a report which can

scarcely be regarded as even-handed and critical, referred to evidence received from the

Church of England’s Board for Social Responsibility, which claimed that the restriction on

infants’ capacity derived not from any desire to protect young people from possible malign

effects of entering unwisely into contracts, but rather as a mechanism of control over them.

However, the Board’s written evidence to the Committee, cites no evidence whatever for its

assertions that ‘[h]istorically the concept [of an age of majority] is one of property rights in,

and power over children, as much as of a duty to protect them’; or that there is a ‘legal age of

majority imposed for the sole purpose of furthering the interests or serving the convenience…

of persons other than the child himself…’ 2 Nor was evidence cited in support of the assertion


1
    A W B Simpson, A History of the Common Law of Contract, Clarendon Press, Oxford, 1987, p 540. On the

question of ‘voidability’ as opposed to nullity of infants’ dealings, and some interesting comparative analysis,

see H J Hartwig, ‘Infants’ Contracts in English Law: With Commonwealth and European Comparisons’ (1966)

15 ICLQ 780.
2
    The Board of Social Responsibility of the National Assembly of the Church of England, Evidence to

Committee on the Age of Majority, March 1966, section 1. Typescript in File BSR/DMSW/MAJ Church of

England Record Centre, Lambeth Palace Library.
    Case 1:24-cv-00496-JAO-WRP                  Document 49-1           Filed 03/18/25        Page 4 of 42
                                                PageID.1296


by Miss P M Claisse, Assistant Secretary to the Board, in oral evidence to the Committee,

that if the age of twenty-one were retained as the age of majority ‘it would be for the

protection of people other than the young’. 3 (It should be said that the Board actually had

little to say about contracts in its submission, which was focussed mainly on the issue of the

right to marry without parental or judicial consent.)

           It will be the argument of this article that it was not the case that the concept of

infancy was maintained as an oppressive tool of control over the young or that it was

disadvantageous to the young and for the benefit only of others. Although the law might

restrict contractual capacity of different groups for reasons of social or economic control on

the one hand, or else from a desire to protect members of the group on the other, it is

submitted that the evidence in this instance, at least, points strongly to a policy imperative to

protect infants. That it may be necessary to exercise some degree of control in order to

protect is not surprising. After all, a parent wishing to protect her toddler from the dangers of

traffic is likely to achieve this result by carefully controlling the child’s movements in or near

the road: control is the means, but protection is the motive. The primary motive of the law on

incapacity in relation to infants was to protect minors, perhaps ‘from themselves’, as Duncan

Kennedy put it. 4

           We have chosen the eighteenth and nineteenth centuries as the focus of our study

because much of the case law on infants’ capacity was made during that period and a number

of Parliamentary steps in this field were also taken in this time. We allow ourselves,


3
    Committee on the Age of Majority, Oral evidence given by the Church of England Board for Social

Responsibility, Monday 4 July 1966. Typescript in File BSR/DMSW/MAJ Church of England Record Centre,

Lambeth Palace Library.
4
    Duncan Kennedy, ‘Distributive and Paternalist Motives in Contract and Tort with Special Reference to

Compulsory Terms and Unequal Bargaining Power’ (1982) 41 Maryland Law Review563.
    Case 1:24-cv-00496-JAO-WRP           Document 49-1         Filed 03/18/25      Page 5 of 42
                                         PageID.1297


however, some latitude in bringing in authorities falling outside our time-frame where we

think it useful, but we stop at the famous case of Nash v Inman 5 in 1908, by which time the

law may be said to have reached its apogee.

          We will begin by very briefly explaining the reasons for the age of majority having

been at twenty-one years at all, before examining the law as it was, chiefly under the

headings of the concept of ‘necessaries’, for which infants could make binding arrangements,

and of infant employment (actually, another category of ‘necessity’ so far as the law was

concerned, but usefully considered separately for the sake of clarity and digestibility). We

hope, thereby, to shed some light on the law’s motives in restricting infants’ capacity.




                                      The Age of Majority

Different countries, at different times, have had different ages of majority. This suggests

either some degree of arbitrariness in the setting of a particular age, or that different places

and different times have different imperatives to serve. Of course, both may well be true.

What is encompassed within the notion of being ‘of full age’ also differs from one legal

system to another. Our concern here is, however, with contractual capacity and we will

endeavour to avoid straying too far from this.

          The Latey Report, already alluded to above, includes an account of how the law

developed on this point, but rather than simply refer the reader to the Report, we will

summarize that account here.




5
    [1908] 2 KB 1.
    Case 1:24-cv-00496-JAO-WRP                    Document 49-1             Filed 03/18/25           Page 6 of 42
                                                  PageID.1298


           According to Latey, ‘Roman historians state that the barbarians reckoned their young

were old enough to carry arms and be counted as grown up at 15.’ 6 Fifteen became the age

of majority in Britain and across Northern Europe during the 9th to 11th centuries ‘…though

not specifically linked with fighting ability’. 7 Changes in the techniques and equipment of

warfare, however, led to some revision of views as to when a young man was able to fight.

The Normans had developed an approach to mounted fighting, involving heavy armour and

heavy swords and lances, which required greater physical development and, 8

           By the time of Magna Carta the age for those holding in knight service had been raised to 21, and there

           is strong authority for the view that this was directly linked with the ability to hold up a heavy suit of

           armour and lift a lance or sword at the same time.


The Report cites Sainte Palaye: ‘the profession of arms demanded an ability and strength not

to be acquired until the age of 21.’ 9 It goes on to cite Pollock and Maitland to the effect that

burgesses and tenants in socage continued to come of age at fifteen, while tenants by knight

service did not come of age until twenty-one; however, ‘…gradually … the knightly majority

is becoming the majority of the common law…’ 10

           Military tenures were abolished by the Tenures Abolition Act 1660, which also

provided that fathers could appoint guardians of their heirs until the age of twenty-one,

because otherwise the conversion of military tenancies into socage would have put those



6
    Report of the Committee on the Age of Majority, Cmnd 3342, 1967, para 38.
7
    Above n 6.
8
    Above n 6.
9
    Above n 6, citing Jean-Baptiste Sainte Palaye de la Curne, Mémoires sur l'ancienne chevalerie, chevalerie

considérée comme un établissement politique et militaire, Nicolas Duchesne, Paris, 1781.
10
     Above n 6, para 40, citing Sir Frederick Pollock and Frederic William Maitland, The History of English Law

Before the Time of Edward I, Cambridge, 1895, vol 2, p 438.
 Case 1:24-cv-00496-JAO-WRP               Document 49-1       Filed 03/18/25       Page 7 of 42
                                          PageID.1299


heirs into their property at the age of fifteen, with risks that were and are all too obvious. So,

twenty-one years became, by degrees, the age of majority in English law.

           The Report goes on to point out that however grotesque it might seem that the age of

majority in the Latey Committee’s world of jet aeroplanes, lava lamps and mini-skirts should

be determined by the weight of armour in Norman England, this did not necessarily mean it

was not as good an age as any to set the bar on contractual and other legal autonomy. 11




                                       The Law on Infancy

As already indicated, we will divide our discussion on the law relating to infancy in the Long

18th century and the 19th century, into two, accepting that the division of the subject matter is

somewhat artificial. We will begin by considering how the law sought to uphold its general

rule in a way that did not make all contracting impossible, in such a way as to create undue

inconvenience in the lives of infants and their parents, through the means of the doctrine of

‘necessaries’. We will exclude from that discussion the question of what we might broadly

term ‘employment contracts’, which we will then proceed to discuss separately. However, it

seems apparent that contracts of service or apprenticeship, like contracts made for education

or healthcare, were to an extent seen as ‘necessary’ for the wellbeing of the infant him- or

herself (in order to earn a living and/or suitably to occupy their destined place in society), so

the principle behind the enforceability of these contracts was not really different, even if the

legal rules by which governed that enforceability were. Before concluding, we will also

briefly touch on statutory intervention felt necessary from the second half of the 19th century.




11
     Above, n 5 at para 46.
 Case 1:24-cv-00496-JAO-WRP                   Document 49-1    Filed 03/18/25      Page 8 of 42
                                              PageID.1300


                                              ‘Necessaries’

The origins of the doctrine of necessaries can be traced to the fifteenth century, where it was

held that ‘when an infant within age has quid pro quo he will be bound by law… when he

buys clothes for his body, he will be charged by action of debt, because these things he must

of necessity have.’ 12 Consequently, items which were deemed to be ‘necessary’ for an infant,

such as clothes and food, were found to bind him at common law. In cases where an infant

was sued for goods supplied on credit, whereof some were necessaries and others not, then

where there was an entire contract the infant would be bound by none of it: Stocks v

Wilson. 13

           The determination of what amounted to necessaries can essentially be divided into

four linked questions: what sort of things could be necessary?; was the infant already

provided?; who was to prove which facts?; and what were the respective roles of the judge

and the jury? Obviously, as civil juries began to fall into disuse outside specialist areas, the

last question ceased to matter in the form in which we put it, though it would still be relevant

on appeal, of course, as determining whether a particular question was a matter of law or one

of fact.

           We will discuss necessaries under three headings. The first will focus on the subject

matter of contract, but it will be seen that it is by no means possible to separate out the four

questions entirely as they are often thoroughly mixed together in any one case, so in this

section we will discuss the cases in general terms across all four questions where they arise.

The second and third headings consider, respectively, the relevance of existing provision,

which discusses the position in relation to a defendant who already had ample goods of the


12
     (1431) YB Mich 10 Hen VI, fo14, pl 46.
13
     [1913] 2 KB 235.
 Case 1:24-cv-00496-JAO-WRP                   Document 49-1     Filed 03/18/25      Page 9 of 42
                                              PageID.1301


type in question at the time the plaintiff supplied him or her, and questions of proof. The

discussion under this last heading will consist of a summary of who had to prove what and to

whom (judge or jury).




Subject matter of the contract

In Mackarell v Bachelor 14 it was held that the decision as to what constituted necessaries was

one for the judge. Here, it was held that ‘suits of sattin [sic] and velvet cannot be necessary

for an infant, although he be a gentleman’. 15 (The infant defendant, who had had £44 worth

of clothing, was a gentleman of the chamber to the Earl of Essex, so the plaintiff’s case had

been, in effect, that this was work-gear.) We shall see later how the attitude of the courts

with regard to such items changed as the meaning of ‘necessaries’ underwent significant

development, particularly in relation to the kind of items which could be deemed ‘necessary’

to those infants from a higher social class.

           Further, in Aoliffe v Archdale 16 it was held that a penal bond executed to pay for food

and drink was void. The plaintiff had paid out for these and the infant executed a bond to

recompense him in the sum of £10, or £20 in default. It was held that if the bond had been

for the exact amount the plaintiff had paid out for the infant’s benefit then it would have been

enforceable against the infant, but because of the penalty, the whole bond was bad. While

this finding appears to have been based upon the rationale that a penal bond can never be in a

minor’s interests, it has been argued that the old cases do not bear this out as the reason for




14
     (1597) Cro Eliz 583; Goldsborough 168; 75 ER 1070.
15
     Above n 14.
16
     (1602) Moo KB 680; 72 ER 835.
Case 1:24-cv-00496-JAO-WRP                        Document 49-1             Filed 03/18/25          Page 10 of 42
                                                   PageID.1302


the apparently well-established rule that infants were not bound by penal bonds. 17 Reeve, for

instance, concludes that, in exploring the reasoning that a penal bond is not binding upon an

infant as it causes him greater injury, it proved impossible to find ‘any judicial decision

which establishes such a rule’. 18 Cases in which the court has concluded that an infant

cannot be bound for the execution of a penal bond merely restate the principle, as is so

common in old reports, so it is really impossible to state with any confidence what the real

basis for the rule was. 19

           The case of Dale v Copping 20 in 1610 is another relatively early instance of a ruling

on the question of what amounted to necessaries and expanded the scope of authority on what

the courts would allow, by finding that a contract to pay for a cure for illness (‘falling

sickness’ or epilepsy in this case) could bind an infant: 21

           Clearly the action well lieth against the defendant, and this nonage by him alledged by him at the time

           of the promise made, is not material, for that this shall be taken as a contract, and that to be for a thing

           in the nature of necessity to be done for him, and the same as necessary as if it had been a promise by

           him made for his meat, drink, or apparel, and in all such cases his promise is good, and shall bind him.’


The defendant pleaded his infancy in an attempt to avoid being bound by the contract.

Williams J dismissed this point and repeated the principle, ‘although he were within age at




17
     See, Simpson, Common Law of Contract, pp 540 and 542.
18
     T Reeve, The Law of Baron and Femme, of Parent and Child, Guardian and Ward, Master and Servant, and

of the Powers of the Courts of Chancery: With an Essay on the Terms Heir, Heirs, Heirs of the Body, Albany,

1862, p 252.
19
     The question would quickly have become moot anyway, once Chancery began granting relief from penal

bonds; the origin of the present-day rule against penalties.
20
     (1610) 1 Bulstr 40; 80 ER 743.
21
     (1610) 1 Bulstr 40 per Williams J at 40.
Case 1:24-cv-00496-JAO-WRP                 Document 49-1         Filed 03/18/25      Page 11 of 42
                                            PageID.1303


the time of his promise by him made for such necessaries, and his nonage not at all material,

and so in this case here his promise shall as well bind him, as in the other cases, the reason of

the law being the same, and this cure being of as great necessity for him’. It is submitted that

the finding that a minor ought to be bound for medical treatment is significant in that it is one

of the first instances in which the court expanded upon the definition of necessaries since the

earliest known instances, in the 15th century. The court seems not to have known of a

previous instance of medical treatment being held to be necessary for an infant so as to make

his promise to pay for it binding, and the present authors are not able to locate one either.

What subsequently became allowed as medical treatment might surprise a modern reader,

however. For instance, in Hart v Prater 22 a horse was held to constitute a necessary on

medical grounds, as the infant had been instructed by a doctor to take exercise on horseback,

which must prompt speculation as to whether even the sort of medical treatment considered

necessary might vary according to the patient’s social and economic position.

           Ive v Chester 23 gives a further early instance of a case regarding fancy clothing, in this

case a very fashionable and expensive cloak and pair of velvet hose, which had been specially

made for the minor. The court held that they may constitute necessaries and thus be

recoverable on an assumpsit, but such items must be ‘necessary and convenient for him…

according to his estate and degree’. 24 The court did not allow recovery in this case, but the

reason given was that it had not been specially pleaded by the plaintiff that these were

necessary for the defendant and this fact was required to be specially pleaded, 25 so we do not




22
     (1837) 1 Jur 623.
23
     (1620) Cro Jac 560; 79 ER 480.
24
     Above, n 20, at 561.
25
     Above n 24.
Case 1:24-cv-00496-JAO-WRP                        Document 49-1             Filed 03/18/25          Page 12 of 42
                                                   PageID.1304


know whether the defendant’s ‘estate and degree’ were such as demanded or warranted so

luxurious a wardrobe.

           It may be objected that in Mackarell v Bachelor 26 it had been held that luxurious

clothes could not be necessaries even for a gentleman of the chamber of the Earl of Essex, so

that there was some sense of an absolute ceiling on what was ‘necessary’ for an infant of any

estate or degree. However, Mackarell v Bachelor had been decided in the 16th century, when

there was still some feeling against excess of dress and display even among the upper-classes

and sumptuary laws forbidding such excess had still been in force in England, not being

repealed until (for most of them) 1603. In 1800, Lord Kenyon CJ, giving judgment in the

case of Hands v Slaney, 27 held that the trial judge, Chambre B, at Warwick Assizes had

correctly left to the jury the question of whether a livery for the servant of an infant army

captain might be a necessary and the jury was entitled so to find: 28

           [A]s to the other article furnished, namely, the livery, I cannot say that it was not necessary for a

           gentleman in the defendant's situation to have a servant; and if it were proper for him to have one, it

           was equally necessary that the servant should have a livery. The general rule is clear, that infants are

           liable for necessaries, according to their degree and station in life. This defendant was placed in a

           situation which required such an attendant: therefore, however inclined I am in general to protect

           infants against improvident contracts, I think that this case falls within the fair liability which the law

           imposes on infants of being bound for necessaries, which is a relative term, according to their station in

           life.




26
     (1597) Cro Eliz 583; 78 ER 826.
27
     (1800) 8 TR 578; 101 ER 1556.
28
     (1800) 8 TR 578 at 579.
Case 1:24-cv-00496-JAO-WRP                       Document 49-1            Filed 03/18/25         Page 13 of 42
                                                  PageID.1305


This judgment was relied upon by counsel for the plaintiff in Peters v Fleming. 29 This 1840

case concerned a Cambridge undergraduate, the eldest son of a wealthy gentleman and

Member of Parliament. The defendant ran up a bill of some £8.0.6d with the plaintiff

jeweller for various rings, pins and a watch-chain.

           The jeweller brought suit; the defendant pleaded first that he was not indebted and

secondly his infancy; the plaintiff joined issue on the first plea and replied on the second that

the items were necessaries for someone of the defendant’s ‘degree, estate and condition’.

The case came on for trial before Vaughan J and a jury at the Summer Assizes for

Cambridgeshire. Vaughan J left to the jury the question of whether the articles were

necessaries and the jury having found that they were, the judge then directed them to return a

verdict for the plaintiff for the full amount claimed, but gave leave to the defendant to move

to enter a nonsuit. This was duly done by the defendant’s counsel and the case came before

Parke, Alderson, Gurney and Rolfe, BB, in the Exchequer of Pleas. It is interesting to note as

an aside that the defendant in this trivial affair of £8.0.6d was represented by no less than Sir

William Follett QC, MP, former and future Solicitor-General and future Attorney-General

and, according to the plaque below his bust at the Devon and Exeter Institution (he was a son

of Exeter, an alumnus of its grammar school and the city’s Member of Parliament) ‘the

greatest advocate of the century’. Sir William led Mr Biggs Andrews, who had represented

the defendant at assizes and Mr Frederick (or Frederic) Gunning, a Cambridge native who

was the author of a treatise on the law of tolls. 30 A formidable team, but it did him little good:


29
     (1840) 6 M & W 42; 151 ER 314
30
     Frederic Gunning, A Practical Treatise on the Law of Tolls, London, 1833. It is also interesting that

Gunning’s brother, Francis, was Town Clerk of Cambridge from 1836 to 1840. Sir William Follett’s younger

brother, Brent Spencer Follett, QC, MP, became the first Chief Land Registrar from the creation of HM Land

Registry in 1862 until his death in 1887.
Case 1:24-cv-00496-JAO-WRP                      Document 49-1            Filed 03/18/25   Page 14 of 42
                                                 PageID.1306


the court held unanimously for the plaintiff, discharging the rule nisi for a nonsuit. The judge

had been entitled to leave to the jury the question of whether the items were necessaries and

the jury were entitled so to find, at least in respect of the watch-chain and the seal-engraved

ring and possibly also the two pins. The finding on the other rings seems to have been

regarded as erroneous, but it made no difference to the outcome as far as the court was

concerned on this occasion, as the plaintiff could clearly not be nonsuited in the

circumstances.

           Alderson B commented, in an interruption of the defence argument, that when

considering what is a necessary item of dress, this ‘…may mean those things without which

the party would lose caste in society’. 31 So that breast-pins might be necessaries, though this

would be conditioned as to quantity, since ‘…if twenty breast-pins had been supplied, they

could scarcely be necessary’. 32

           In his judgment, Parke B observed that it was ‘perfectly clear’ that ‘from the earliest

time down to the present, the word necessaries was not confined, in its strict sense, to such

articles as were necessary to the support of life, but extended to articles fit to maintain the

particular person in the state, station, and degree in life in which he is’. 33

           Jewellers were concerned again in Elkington & Co. Ltd v Amery, 34 which involved

the supply of engagement and wedding rings, which were found to be necessaries. In the

case of Jenner v Walker, 35 Cockburn CJ, suggested that jewellery (not engagement or



31
     (1840) 6 M & W 42 at 45; 151 ER 314.
32
     Above, n 31. See further below in the discussion on existing provision.
33
     Above, n 31 at 46-47.
34
     [1936] 2 All ER 86.
35
     (1868) 19 LT Rep (NS) 398.
Case 1:24-cv-00496-JAO-WRP                      Document 49-1           Filed 03/18/25   Page 15 of 42
                                                 PageID.1307


wedding rings) destined to be presents for a bride were ‘very natural’ 36 coming from

someone of some thousands a year (albeit that the infant actually only had £700-£1,000 a

year), and would be necessaries, though not the same items intended for some other female.

In the same case, he took the view that a ‘blue morocco patent frame betting book with richly

gilt pins’ could not be necessary (though perhaps a less opulent betting book might be). 37

While it was clearly not the Chief Justice’s intention to suggest that something being or not

being ‘very natural’ is the litmus of necessity, it could be urged at least that a wife or fiancée

may feel that such gifts were necessary incidents of the relationship. There is no difficulty in

taking both the station and degree in life in which the defendant finds himself in general

terms together with some particular circumstances operative at the moment of the disputed

transaction, for example, an anticipated marriage as in Elkington & Co v Amery, 38 or a state

of national emergency as in Coates v Wilson. 39

           Conversely, it was held in Nash v Inman 40 that fancy waistcoats for an undergraduate

were not necessaries in the particular case. In reaching this conclusion the Court of Appeal

followed the principle laid down in Peters v Fleming, that such items may be appropriate for

the infant if they were suitable to his ‘state… and degree in life’. 41 The main basis for the

decision of the court appears to be that the infant’s father gave evidence, that was believable

and not contradicted, that his son was amply supplied with clothes, so it was a question,

mainly, of quantity, but Buckley LJ, focussing on whether ‘the goods were suitable to the



36
     (1868) 19 LT Rep (NS) 398 at 399.
37
     Above, n 36.
38
     [1936] 2 All ER 86.
39
     (1804) 5 Esp 152; 170 ER 769. This case is discussed further, below.
40
     [1908] 2 KB 1.
41
     (1840) 6 M & W 42; 151 ER 314.
Case 1:24-cv-00496-JAO-WRP                          Document 49-1            Filed 03/18/25          Page 16 of 42
                                                     PageID.1308


condition in life of the infant’, 42 said that the clothing was ‘of an extravagant and ridiculous

style having regard to the position of the boy’. 43 (The defendant was the son of a successful

architect with a house in Hampstead and a country pile near Havant, and had been educated

at Uppingham before going up to Trinity College, Cambridge.)

              A similar position was adopted in Ryder v Wombwell 44 where ‘a pair of solitaires or

ornamental studs, worn as the fastenings of the wristbands of a shirt, which…were made of

crystals set in gold and ornamented with diamonds, representing a horseshoe in which the

nails were rubies’ 45 were not necessaries for the infant in the case. Willes J said that, 46

              The question in such cases is not whether the expenditure is one which an infant, in the defendant's

              position, could not properly incur. There is no doubt that an infant may buy jewelry [sic] or plate, if he

              has the money to pay and pays for it. But the question is whether it is so necessary for the purpose of

              maintaining himself in his station that he should have these articles.


The question for the court therefore, was not whether the infant could afford the items, but

rather whether such items were essential to him in his current position in life. The court held

that such extravagant pieces could not possibly be necessary for the infant.

              Expensive dinners were similarly regarded as being incapable of constituting

necessaries, as we can see in Wharton v Mackenzie. 47 Whilst the court in Wharton was

willing to accept that the young gentleman was of suitable means and standing to host such

dinners, Wightman J stated that ‘the articles of which this bill is composed cannot be


42
     [1908] 2 KB 1 at 8.
43
     At 11.
44
     (1868) LR 4 Ex 32.
45
     At 37.
46
     At 39.
47
     (1844) 5 QB 606; 114 ER 1378.
Case 1:24-cv-00496-JAO-WRP                      Document 49-1            Filed 03/18/25         Page 17 of 42
                                                 PageID.1309


necessaries if they cannot be supplied without giving credit.’ 48 That is a problematic line of

argument, since the question of necessary versus non-necessary goods generally only arises

when the goods or services are supplied on credit. An infant was quite competent to make

cash transactions. 49An infant’s contracts were unenforceable as a general rule, rather than

void, so disputes only arose where some part of the contract remained executory: invariably

in sales of goods cases, this was payment by the infant, so that the seller sued to recover the

price of goods supplied on credit and the purchaser pleaded infancy in defence.

           It is to the credit of the judges in these cases, however, that often the application of

common sense and a more realistic approach seems to prevail over a rigid application of the

law. Indeed, such was the reason for disallowing the young undergraduate in Wharton v

Mackenzie from being held liable for luxury foodstuffs, as Lord Denman CJ explained, ‘with

respect to the articles here supplied, it is an outrage to common sense to say that they can

possibly be necessaries’. 50

           Sometimes, a very particular context might play a role. In Coates v Wilson 51 Lord

Ellenborough held a military uniform for a volunteer corps to be a necessary as a

consequence of the number of men who had enlisted for military service around this time. 52 It

was only right that in ‘these perilous times’ an infant ought to be able to contract for clothing

which was essential for duties undertaken ‘for defence of the country’. 53


48
     At 614.
49
     See, eg, Ryder v Wombwell (1868) LR 4 Ex 32 at 39 per Willes J, quoted above, text at n 46.
50
     Wharton v Mackenzie, above n 47, at 612.
51
     (1804) 5 Esp. 152; 170 ER 769.
52
     Around 52,000 men, such as the infant in this case, joined volunteer units around this time: see D Chandler

and I Beckett (Eds), The Oxford History of the British Army, OUP, Oxford, 2003, p 138.
53
     (1804) 5 Esp 152; 170 ER 769.
Case 1:24-cv-00496-JAO-WRP              Document 49-1        Filed 03/18/25       Page 18 of 42
                                         PageID.1310




Existing provision

The question of quantity was also clearly relevant to the question of whether what was

supplied under the contract fell within the category of ‘necessaries’. We saw above that this

question was alluded to by Alderson B in Peters v Fleming when he observed that a breast-

pin might be a necessary, but twenty breast-pins could not be. 54 There are numerous

references in the case law to the issue of whether an infant was already sufficiently supplied

and whether this was indeed relevant to whether the goods were necessary. There seems to

have been doubt about this, on occasion, with one view being that the fact of the infant being

already well-supplied with goods of the same sort was only relevant if the seller knew that

this was so, and that the seller was under no obligation to take steps to find out. It was

suggested by counsel in various cases that it should not be necessary for the tradesman to

make active enquiries. Such was the argument of the plaintiff’s counsel in Ford v

Fothergill. 55 In this case a young man’s excesses brought the disapproval of Lord Kenyon.

In an assumpsit for work and labour as a tailor, the plaintiff sued the defendant for the price

(not stated in the report) of a coat, waistcoat and two pairs of breeches, ordered by the

defendant for delivery to him at the Grecian Coffee House. These clothes were in addition to

a great many others supplied by other tailors in an extravagant spending spree. The

defendant’s father had paid various other tailors off that same year, 1793. At Nisi Prius, the

plaintiff’s counsel argued against the suggestion that his client ought to have instituted

enquiries:




54
     (1840) 6 M & W 42; 151 ER 314.
55
     (1794) Peake 301; 170 ER 164.
Case 1:24-cv-00496-JAO-WRP                       Document 49-1            Filed 03/18/25          Page 19 of 42
                                                  PageID.1311


           Mingay, for the plaintiff, contended, that it was not incumbent on the plaintiff to traverse the town to

           enquire the defendant’s fortune and character. He came to him as a man of fortune and figure,

           introduced and recommended by a gentleman of fortune. If the plaintiff thought them necessary for his

           state and degree, that would maintain the issue. In the way he appeared to the plaintiff he could not

           know but that he had an estate of £500 per annum.


The argument, however, did not find favour with Lord Kenyon CJ, who directed the jury that

the plaintiff could and should have made enquiries. The plaintiff, said Lord Kenyon, ought to

have ‘…gone to [the defendant’s] father and enquired of him whether he was in want of these

clothes’. 56 Indeed, the circumstance of the defendant living in a coffee house seemed to his

Lordship to be suggestive of an unwary nature (we assume he meant a tendency to

extravagance) as well as offering an opportunity of making enquiries both of people at the

coffee house and of the boy’s father, so that it seemed that the plaintiff perhaps should have

been specially on his guard as well as having it more easily in his power to control his risks.

That the jury did not apparently agree with Lord Kenyon does not really affect the view we

must take of the law as it then stood, however. What the case also tells us is, that the

question of what was necessary was a matter for the jury, which was also fundamental in

Maddox v Miller, 57 considered in more detail below.

           Further instances can be found over a long period of time. In Barnes & Co v Toye 58

the Divisional Court ordered a new trial on the grounds that the trial judge had erred in

directing the jury that it did not matter how many clothes the defendant already had, in

considering whether those supplied by the plaintiff tailors were necessaries. Lopes J drew an

analogy with a watch, saying that ‘a watch may be prima facie in some cases a necessary, but



56
     Above, n 55.
57
     (1813) 1 M & S 738; 105 ER 275.
58
     (1884) 13 QBD 410.
Case 1:24-cv-00496-JAO-WRP              Document 49-1         Filed 03/18/25       Page 20 of 42
                                         PageID.1312


if it turned out that the infant was already supplied with a watch or watches, the one ordered

could not be a necessary’, 59 and found that the jury were entitled to take into account the fact

that the minor may already be sufficiently supplied with the goods when determining whether

a particular item was necessary: ‘Evidence as to the amount of clothes the defendant

possessed at the time when the order relied on was given was admissible, and the jury should

have been told that in arriving at a conclusion whether the goods supplied by the plaintiffs

were necessaries or not, they should consider whether the defendant was already sufficiently

supplied.’ 60 This decision seemed to the Divisional Court to involve a dissent from the then

recent decision in Ryder v Wombwell, but it is not evident that it really did. In Ryder the

defendant had been supplied with expensive items of jewellery on credit. He had a great

many other items of the sort. The Lord Chief Baron at trial had left it to the jury whether the

items were of such a type and quality as was necessary to the defendant, given his exalted

social position, but directed them to ignore the fact that he had a great many like items

already in his possession. The Court of Exchequer Chamber held that the question of

necessary-or-not was one for the jury, but that the judge should withhold the question from

the jury if there was not sufficient evidence on which a jury could reasonably reach a

conclusion that the items were necessary. The Lord Chief Baron had erred in holding that the

defendant’s evidence that he already possessed plenty of jewellery should not be considered

by the jury, in light of evidence that the plaintiffs had not been aware of this fact. In so far as

this conclusion is concerned, the Divisional Court in Barnes & Co v Toye, in finding, as it

did, that a defendant was entitled to adduce evidence that he was already well-supplied with




59
     At 413.
60
     At 414.
Case 1:24-cv-00496-JAO-WRP                       Document 49-1            Filed 03/18/25          Page 21 of 42
                                                  PageID.1313


items of the sort alleged to have been necessaries, was not at odds with the Court of

Exchequer Chamber in the earlier case.

           This view, that the actual existing provision of the defendant was entirely relevant and

the trader was on notice that he dealt with an infant on credit at his peril, for if it turned out

that the infant was already adequately supplied then the trader could not recover, is amply

supported by other authorities over a significant period, for instance, Bainbridge v

Pickering, 61 Cook v Deaton, 62 Story v Pery, 63 Steedman v Rose 64 and, of course, the

extremely well-known case, already mentioned above, of Nash v Inman. 65 In this latter case,

the court found that the tradesman bringing the claim against the infant had to show, ‘first,

that the goods were suitable to the condition in life of the infant; and, secondly, that they

were suitable to his actual requirements at the time or, in other words, that the infant had not

at the time an adequate supply from other sources.’ 66




61
     (1789) 2 Black W 1325; 96 ER 776.
62
     (1827) 3 Car & P 114; 172 ER 348.
63
     (1831) 4 Car & P 526; 172 ER 810. This case is worth reading for the enjoyable facts: the goods supplied by

a Jermyn Street tailor were ‘A rifle green coat, lined with silk… a pair of royal purple casimere [sic] trousers…

a pair of shepherd’s plaid trousers…’ The defendant was the infant son (he was supplied when seventeen and

eighteen years old) of Lord Glentworth, who was at the time a prisoner for debt in the King’s Bench prison. The

defendant himself must have been quite a sight, so it is perhaps no wonder that tradesmen saw him coming.
64
     (1824) Car & M 422; 174 ER 572.
65
     [1908] 2 KB 1.
66
     [1908] 2 KB 1 at 9 per Fletcher Moulton LJ. It is notable that this case was decided after the passage of the

Sale of Goods Act 1893, but s 2 of the Act (subsequently re-enacted as s 3 Sale of Goods Act 1979) would have

had no effect on the decision in Nash.
Case 1:24-cv-00496-JAO-WRP                  Document 49-1      Filed 03/18/25      Page 22 of 42
                                             PageID.1314


           Dalton v Gib 67 is a rare instance of the judges finding that the circumstances were

such that the trader need not have made enquiries as to the circumstances of the defendant,

including her existing sufficiency or otherwise of goods of the description supplied. In this

case, the defendant was a woman of twenty years of age, who lived with her mother rather

extravagantly at an hotel in Hanover Square, a fashionable address in London’s West End,

travelling around the city in a carriage, when in fact the pair were possessed of few funds and

the mother was living apart from her husband, who was living in Calais. The defendant

contracted for the purchase of silks to the value of £35 and took some with her in the

carriage, which waited outside the plaintiff’s shop, with the defendant’s mother inside, whilst

the rest were delivered to the hotel, again with the mother available to supervise. All the

judges, Tindal CJ, Vaughan, Bosanquet and Erskine JJ, agreed that the usual rule was that the

trader dealt with an infant at his own peril and was on notice to make enquiries as to whether

the infant was already sufficiently supplied, but that the circumstance of appearing in a

carriage, with her mother there when she took some of the goods with her, and living at the

hotel with her mother, rendered enquiries superfluous. This does not seem really out of line

with the rest of the cases: the general rule is acknowledged and here the only person of whom

the tradesman could have been expected to make enquiries was the mother, and she was

present both at the shop and the hotel and can be taken to have approved the purchases,

implicitly signifying that the additional silks being bought were necessary for her daughter.




Proof

The proper pleading in cases of infant defendants to actions on their contracts, involved the

plaintiff pleading the contract and the defendant’s indebtedness, the defendant meeting this


67
     (1839) 5 Bing (NC) 198; 132 ER 1080.
Case 1:24-cv-00496-JAO-WRP                      Document 49-1    Filed 03/18/25   Page 23 of 42
                                                 PageID.1315


with a plea that they were not indebted and were not of age and then for the plaintiff to plead

that the subject matter of the contract was something that was necessary to the defendant.

This fact of the necessary nature of the goods or services supplied had to be specially

pleaded, therefore, as we saw in Ive v Chester. 68

           The position on the balance between what is a matter of fact and what a matter of law

seems to have changed over time. As we have seen, in the sixteenth and early seventeenth

centuries, the judges appear to have regarded the whole question of what is necessary for a

particular infant as a question of law. Such was clearly the case in Mackerell v Bachelor, 69

and also appears to have been the assumption in Dale v Copping. 70 Equally clearly, by the

end of the eighteenth century the question of ‘necessary or not?’ had become in some sense

partly one for the judge and partly for the jury, as we saw in Hands v Slaney, 71 and again later

in Jenner v Walker. 72 However, the division between judicial competence and jury

competence was that the judge had to decide as a matter of law whether there was or was not

sufficient evidence adduced upon the basis of which a reasonable jury, properly directed,

could possibly conclude that the goods or services were in fact necessary for the defendant.

           This point, indeed, had puzzled Cockburn CJ in Jenner, because he had only an

imperfect account of what had just been decided in Ryder v Wombwell, 73 from which he had

the impression that the Exchequer Chamber had decided that the question of whether or not

an item was necessary was one for the judge. The Chief Justice was somewhat scathing of


68
     (1620) Cro Jac. 560; 79 ER 480 at 561.
69
     (1597) Cro Eliz 583; 75 ER 1070. See above, text at n 14.
70
     (1610) 1 Bulstr 40; 80 ER 743. See above, text at n 20.
71
     (1800) 8 TR 578; 101 ER 1556. See above, text at n 27.
72
     (1868) 19 LT Rep (NS) 398. See above, text at n 35.
73
     (1868) LR 4 Ex 32.
Case 1:24-cv-00496-JAO-WRP                 Document 49-1        Filed 03/18/25       Page 24 of 42
                                            PageID.1316


the suggestion, arguing that Baron Bramwell, who hated smoking, would find a cigar case not

a necessary, while another judge might find it to be necessary. Such matters of personal

judgment were best left to a jury in Cockburn CJ’s opinion, though he felt bound by what he

had understood the judgment in Ryder to have been. 74

           The judge, therefore, had, as we might put it, ‘first bite of the cherry’, in determining

whether something was capable of being found by a reasonable jury to be necessary. Once he

had decided that goods of the character concerned were capable of being necessaries for the

defendant in the case, it was properly left to the jury (as Lord Kenyon found that Chambre B

had done at Warwick Assizes in Hands v Slaney) whether in that particular case the actual

goods supplied were necessaries, which would include the question of whether the infant was

sufficiently supplied already.

           The case of Maddox v Miller, 75 already alluded to, furnishes a useful illustration of

the extent to which the judge’s ‘first bite’ was sometimes reduced to little more than a lick.

The defendant was the son of a clergyman who lived in Gloucestershire, but the defendant

had been living, at the time of the contracts involved, in Stourport-on-Severn, where he was

employed by a substantial bargemaster at a salary that did not appear in evidence. In August

1809 he had sent for the plaintiff tailors to attend him at a coffee house (this was mentioned

specifically, in relation to the fact that he had not been introduced to them by his father), and

between then and September 1810 bespoke of him clothes to the value of £18 2s 6d. In

September 1810 he paid £15 towards his outstanding bill and between October that year and

February 1811 was allowed to order further clothes, some extra-deluxe clothes suitable to a

nobleman while others were clothes of the ordinary sort supplied to a gentleman, amounting



74
     (1868) 19 LT Rep (NS) 398 at 399.
75
     (1813) 1 M & S 738; 105 ER 275.
Case 1:24-cv-00496-JAO-WRP                    Document 49-1             Filed 03/18/25   Page 25 of 42
                                               PageID.1317


to a further £16 4s 6d, giving a total amount owing after that date of £19 7s 0d. At the time of

the delivery of the clothes the defendant was an infant. He was subsequently sued and the

case came on at Worcester Assizes before Bayley J and a jury. The defendant pleaded his

infancy and the tailor pleaded in replication that the goods were necessaries. It was objected

that insufficient evidence had been adduced for the plaintiff that the defendant was not

already adequately supplied with clothes (or that these clothes were suitable for his state and

condition, or what his income was) for the case to go to the jury. Bayley J, in some

uncertainty, nonsuited the plaintiffs (rather ironically). A rule nisi to set aside the nonsuit

having been obtained, the case came before Lord Ellenborough CJ, who made the rule

absolute, holding that there was enough to go to the jury.

           We saw earlier, in the case of Ford v Fothergill 76 that the jury might well go against a

strong direction from the judge. Here, Lord Kenyon commented in very clear terms against

the failure of the plaintiff tailor to make enquiries as to the position of the defendant and

whether the defendant was already sufficiently supplied with clothes. It took a firm-minded

jury to disregard the views of the Lord Chief Justice and find in favour of the tailor. This tells

us two things. First, it shows that the question of sufficiency of supply was a matter for the

jury (and perhaps also that it was difficult at times to disentangle the question of sufficiency

from the issue of the plaintiff’s duty to enquire, if such a duty truly existed, upon which the

foregoing argument has clearly cast doubt). Secondly, when taken in conjunction with other

cases, such as Peters v Fleming, 77 in which the jury appears to have found against the weight

of judicial opinion (and/or common sense) that luxurious goods were indeed necessary to the

defendant and he should be held liable for them, we have an impression that juries, which



76
     (1794) Peake 301; 170 ER 164.
77
     (1840) 6 M & W 42; 151 ER 314. See above, n 29 and text thereat.
Case 1:24-cv-00496-JAO-WRP                       Document 49-1            Filed 03/18/25          Page 26 of 42
                                                  PageID.1318


perhaps included a good many local tradesmen, were not as inclined as the judges were to

indulge the weaknesses of apparently well-off youngsters and protect them from themselves.

This second factor, moreover, seems to point to the stated reasons of the judges for

disallowing claims on infants’ contracts, namely the protection of the infants themselves,

being indeed the real reason and policy of the law, as this article argues.




                                           Employment and Training

Contracts for the supply of goods or services on credit are one sort of contract involving an

element of futurity or continuing obligation, which therefore raised questions about the

capacity of a would-be infant contractor. They arose quite frequently since infancy lasted

into the period in life in which a young person might be an undergraduate, or have entered

upon a naval or military career, or be otherwise living separately from his or her parents or

guardians. Infants, however, were also very frequently employed or apprenticed, which also

involved contracting with a degree of futurity and therefore also raise the problem of

capacity. In this section we will consider how the courts dealt with contracts of this character

and see what light that sheds on the question of the law’s policy or motivations. (Although

the reports appear to contain rather fewer instances of actions brought in relation to these

types of contracts. 78)

           Before doing so, however, some note of caution must necessarily be sounded,

regarding the risks of viewing the past through the lenses of the present. While infancy lasted

until the age of twenty-one so that some of the contracts one is dealing with in relation to


78
     One reason might be, in relation to apprenticeships, for example, that disputes were dealt with either

informally or else locally, for instance by magistrates under the Statute of Artificers 1563 (5 Eliz I c 4). See also

Gylbert v Fletcher (1628) Cro Car 179; 79 ER 757.
Case 1:24-cv-00496-JAO-WRP                      Document 49-1            Filed 03/18/25         Page 27 of 42
                                                 PageID.1319


infants’ employment therefore deal with those who would be of employable age today, a

great deal of employment and nearly all apprenticeships in the period under consideration

here involve those whom we still regard as children. In the contemporary West, we tend to

take it for granted that child labour is a Bad Thing. The Whig theory of history as applied to

young people and work assumes that this is the case and that the unfolding of history over the

18th, 19th and 20th centuries has been, so far as this issue is concerned, the story of an

inexorable improvement in the shape of the gradual abolition of child labour and the pushing

back of the point (still going on even in Britain) of transition from education to working

life. 79 This was not at all axiomatic to our ancestors, however. Dorothy George, in her brief

but excellent chapter on ‘Child Labour and Apprenticeship’ in England in Transition, notes

that Daniel Defoe had regarded high levels of child labour, from as young an age as possible,

as his ‘chief criterion of prosperity’, 80 citing his enthusiastic statement in reference to the

district around Halifax that ‘hardly any thing [sic] above four years old but its hands are

sufficient to itself’ 81 and in respect of Norwich that ‘the very children after four or five years

of age, could every one earn their own bread’. 82 George likewise cites an American

commentator visiting Halifax in 1777 who 83



79
     This process can to some extent be traced through legislation, with the Cotton Mills and Factories Act 1819

establishing a minimum working age for employees and apprentices in cotton mills at nine, increasing to ten by

the Factories & Workshops Act 1878, eleven under the Factories Act 1891 and twelve under the Factories &

Workshops Act 1901, with subsequent increases since, especially through increases in the age at which a child

could leave full-time education.
80
     Dorothy George, England in Transition: Life and Work in the Eighteenth Century, Routledge, London, 1931

(1953 reprint, Penguin, London), p 117.
81
     Above, n 80.
82
     Above, n 80.
83
     Above, n 80, p 118.
Case 1:24-cv-00496-JAO-WRP                      Document 49-1            Filed 03/18/25          Page 28 of 42
                                                 PageID.1320


           …watched some fifteen children making wire cards for wool-carding ‘which employment’, he noted in

           his diary, ‘not only keeps their little minds from vice but … takes a heavy burden from their poor

           parents.’ That was the traditional and unquestioned attitude towards the labour of children.


The kindly Parson Woodforde had child servants in his house, as the following reference in

his diary for 1779 shows: 84

           Sepbr. 3, Tuesday. […] I hired, Yesterday, one Henry Daines, a Boy of 13. Years old, in the place of

           Barnard Woodcock, who leaves me at Michaelmas next being too old for his Place & can better

           himself. I liked the Boy very well, having an open, honest countenance to all appearances, his Mother

           who came with him, seemed to be a good kind of Woman & very Motherly. I gave the Boy, on hiring

           him 0.1.0. Dinner to day, rost Beef & Plumb Pudding…


The entry for 13 January 1800 shows that Daines was paid two guineas per annum. 85 That

the children of the labouring classes should be themselves labouring from a young age was

not, then, regarded as a matter of regret, rather as part of the ordinary course of things, not

only by their employers and by commentators but also by their parents.

           There is also a risk in the other direction. Much child labour was done under articles

of apprenticeship. Apprenticeships tend to be seen today in an extremely positive light. Paid,

on-the-job training for a (usually skilled) future career. The temptation is to assume that this

was the case in the past, when apprenticeships were much more a part of the everyday

experience of the vast majority of young people, often gilded by the reflected romantic light

of the mediaeval guild system, with its ‘mysteries’ and its grades of apprentice, journeyman

and master. Such a view is also highly misleading and hazardous to a proper understanding

of child/youth labour in our period. Apprenticeships varied greatly between trades, with

apprenticeships to substantial merchants or to professional men being very much educative in


84
     James Woodforde, John Beresford, ed, The Diary of a Country Parson, OUP, Oxford, 1931, vol 5, p 212.
85
     Above n 84, p 234.
Case 1:24-cv-00496-JAO-WRP                      Document 49-1            Filed 03/18/25         Page 29 of 42
                                                 PageID.1321


nature, with good conditions for the apprentice and good future prospects (including the

possibility in some instances of marrying his master’s daughter and eventually taking over

the business). Such apprenticeships, however, came with a hefty fee payable by the

apprentice’s parents or guardians to the master, which might be £100 for an apprenticeship to

a surgeon or as much as £1000 to a great merchant. At the more usual level for the bulk of

the population, a fee of perhaps £5 would be payable on indenturing to a weaver or small-

time shoemaker. 86 George observes that ‘with a small fee [the apprentice] would be an

unpaid servant; with a large one he would expect to be a pupil.’ 87

           Equally, even where the apprentice was mostly an unpaid servant, the arrangement

was not necessarily all that advantageous to the master, either. George notes that, 88

           [A]t the beginning the child was a nuisance, he spoiled material, he needed supervision, his appetite

           was large. The master expected to be repaid for the unprofitable early years when the boy (or girl) had

           learned his trade. But as soon as this happened, the apprentice seldom failed to resent having to work

           for his master without pay and, it should be remembered, for an unlimited number of hours a day.


This often led to apprentices behaving badly and spoiling work deliberately to induce the

master to agree to cancel the indentures. A not infrequent thing, such was the burden of a

young apprentice, was for the master deliberately to mistreat the boy so as to force him to

abscond. This was of course of no concern to the master, who simply recruited another young

apprentice – and, naturally, the fee that went with it. 89




86
     George, above n 80, p 118.
87
     Above, n 86.
88
     Above, n 80, p 119.
89
     Above, n 88.
Case 1:24-cv-00496-JAO-WRP                    Document 49-1          Filed 03/18/25        Page 30 of 42
                                               PageID.1322


           At the lowest end of the scale, there were apprenticeships to trades so undesirable that

no fee was payable at all, or else the master paid the parents. Bottom of the pile was the

chimney-sweep’s apprentice, the pitiable ‘climbing-boy’, for whom families themselves were

paid by the masters. Sometimes, such was the difficulty in finding a boy to do this work,

large sums changed hands. Lane writes of a young boy who ‘claimed to have been kidnapped

by a “little hunchbacked gentleman” who offered his mother £100 for him’. 90

           It was not only boys who undertook apprenticeships. Although less common, girls

were quite often apprenticed; though given the limited number of positions in which a woman

could work, young girls who completed apprenticeships often did so in more menial

occupations. Indeed, it has been recorded that ‘of one girl bound at Norwich in 1653, it is said

that she was to be educated in housewifery for seven years’. 91 Dorothy George, commenting

on how thin the pretence of teaching a trade often was, also cites the case of ‘a little girl

[who] was bound as the drudge of a family of street hawkers living in a single room in a

slum’ whose indentures of apprenticeship provide that she should be ‘taught the art of

housewifery’. 92

           Poor children, dependent on the parish, were in a different and usually worse

situation. For such children apprenticeships were compulsory, as George explains, ‘under the

Elizabethan Poor Law the children of poor parents were to be apprenticed by being billeted

compulsorily upon the ratepayers of the parish to be farm servants or household servants, the




90
     See J Lane, Apprenticeship in England, 1600-1914, Routledge, London, 1996, p 9, quoting James Dawson

Burn, The Autobiography of a Beggar Boy, London, 1856, reprinted, Europa Publications, London, 1978, p 59.
91
     O J Dunlop and R D Denman, English Apprenticeship and Child Labour: A History, T Fisher Unwin,

London, 1912, p 153.
92
     George, above n 80, p 121.
Case 1:24-cv-00496-JAO-WRP                      Document 49-1           Filed 03/18/25          Page 31 of 42
                                                 PageID.1323


boys till they were twenty-four, the girls till twenty-one or marriage’. 93 From the Poor Relief

Act 1691 onwards, serving as an apprentice for at least 40 days established a right of

settlement in the parish where it was served, meaning that parish officers were incentivized to

indenture poor children to masters in another parish, because they thereby got permanently

rid of them as possible claimants on their own parish’s poor rate. While masters in a child’s

own parish were obliged to accept poor apprentices, those in other parishes were not, so

parish officers would have to pay the master in another parish, usually £5. The payment

seems to have been considered well worth it. 94

           It is clear then, that when we speak of apprenticeships; we are referring to all manner

of different arrangements, some of which were of benefit to the infant, others distinctly and

sometimes egregiously exploitative. The contract was a regulated one, however, in the sense

that where a master complained of an unruly or peculiarly ham-fisted apprentice, or an

apprentice complained that he was not been taught a trade or was not correctly treated (which

might be brutality, or might be, for instance, failing to supply the apprentice with proper

clothing), either party might complain to Quarter Sessions and seek the cancellation of the

indentures. Dorothy George cites the example of William Adams, who was apprenticed to a

carpenter but complained to Quarter Sessions that he was not being taught that trade but

instead had been made to ‘drive children about at fairs for half-pence in a little cart drawn by




93
     Above n 80, p 124. After 1778 apprenticeships for boys, too, finished at twenty-one. The age of

commencement was generally around seven years old, meaning that a parish apprenticeship was typically

fourteen years in duration, compared with the normal trade apprenticeship of seven years for trades recognized

as existing at the time of the Statute of Artificers 1563 and varying but shorter periods for newer trades and

skills.
94
     See generally, George, above n 80, especially 124-5.
Case 1:24-cv-00496-JAO-WRP              Document 49-1        Filed 03/18/25      Page 32 of 42
                                         PageID.1324


dogs’ and that his master instead of supplying him with clothes had taken the clothes he

already had from him and pawned them. 95




The Law on Apprenticeships

The law was that an infant could be bound to a contract of apprenticeship, but that this was

conditional on it being, looked at in the round, beneficial to the infant. Such a contract could

not be enforced against the infant in an action for breach of the contract. Rather, as between

the apprentice and the master, a status relationship was created, which was regulated by

statute and common law. That said, it was still a contract and a third party inducing the

apprentice to breach the terms of their indentures was open to action for inducing breach of

contract. All of this can be gathered from the judgment of Fry LJ, sitting as an additional

judge of the Chancery Division, in the celebrated case of De Francesco v Barnum &

Others, 96 familiar still to law students as an authority against specific performance of

contracts of personal service.

           Briefly, De Francesco ran a highly reputed dance school in London. He brought an

action against P T Barnum, the famous impresario, a theatrical agent named Signor

Parravicini, employed by Barnum to engage ballet-dancers for him, two infants, Ada and

Helen Maude Parnell, De Francesco’s apprentices, and Mrs Elizabeth Parnell, mother of the

two girls. He began by moving in the Chancery Division for an injunction restraining the

defendants from breaches of the apprenticeship indentures. These indentures were both

entered into on 6 December 1886, when Ada was twelve years old and Helen Maude was




95
     George, above n 80 p 122.
96
     (1890) 45 Ch D 430.
Case 1:24-cv-00496-JAO-WRP                      Document 49-1            Filed 03/18/25          Page 33 of 42
                                                 PageID.1325


fourteen. The two deeds were in the same terms. They bound the girls as apprentices for

seven years in, mostly, the usual terms as to obedience to the master, and so on. But they had

some unusual aspects. The master was only to pay them anything if he used them for a

performance. He was under no obligation to provide any work for them (though he was

obliged to provide instruction). So they had no guarantee of any kind of income. He was not

liable for maintaining them in any way. He was free to take them anywhere in the world,

away from maternal care and out of the jurisdiction. He could terminate the contract in each

case at any time ‘after a fair trial’ on grounds that the girl in question was unsuited to the

career. There was no corresponding right of termination by the girls or their mother. The

girls, even when not employed by De Francesco, could not take other work without his

written permission. Neither could they marry. Breach of any of the terms entitled De

Francesco to terminate and claim liquidated damages in the sum of £50.

           Chitty J, hearing the motion for injunctions, refused them. He held that without going

into the question of whether or not the contracts were beneficial to the infants, he had to

consider himself bound by the case of Gylbert v Fletcher, 97 decided by the King’s Bench

(Hyde CJ, Jones, Whitlock and Croke JJ) in the reign of Charles I, which states that: 98

           [A]lthough an infant may voluntarily bind himself an apprentice, and if he continue apprentice for

           seven years may have the benefit to use his trade, yet neither at the common law nor [by statute] shall

           the covenant or obligation of an infant for his apprenticeship bind him. But if he misbehave himself,

           the master may correct him in his service, or complain to a justice of the peace to have him punished,

           according to the statute. But no remedy lieth against an infant on such a covenant…


He noted that this case had been unchallenged authority ever since and was cited by the

leading textbook writers, so he was unwilling to consider on an interim application whether


97
     (1628) Cro Car 179; 79 ER 757.
98
     At 179-180.
Case 1:24-cv-00496-JAO-WRP                    Document 49-1          Filed 03/18/25         Page 34 of 42
                                               PageID.1326


the authority might be overruled. 99 After this, the Plaintiff ceased to seek any remedy against

the infants and the matters to be considered at trial by Fry LJ concerned the question of

whether the adult parties could be sued for inducing breach of contract. If there was a valid

contract, then it was clearly possible that Mrs Parnell, insofar as she co-operated in the

engagement of the girls to perform for Mr Barnum at Olympia, 100 and Mr Barnum and his

agent Sgr Parravicini, insofar as, and from the time, they were aware of the relevant term of

the indentures, could be liable for inducing breach. Fry LJ did not have to go so far as

deciding the facts, because he decided that the indentures themselves were void. Although he

noted the reputability of the plaintiff’s school, that the training might well be valuable and

perhaps the best to be had in dancing, that the indentures were in some ways enlightened as

with their provisions in relation to education, he held that, judged all in all, they were not in

the girls’ interests. The provisions described above as ‘unusual’ were highly one-sided.

Although every contract would contain some terms favourable to one party only and some to

the other party, the balance here was very heavily in De Francesco’s favour, to the extent that

the deeds viewed in the round, and acknowledging that the arrangements would provide the

girls with the means in due course of getting their living, were not to the net benefit of the

infants. 101




99
     (1889) 43 Ch D 165 at 171-2.
100
      This must have been for ‘P T Barnum’s Greatest Show on Earth’, which opened at Olympia, London on

Monday 11 November 1889. The infants in the case were presumably hired for the corps de ballet in the second

half of the evening’s entertainment, wholly devoted to ‘Imre Kiralfy’s Stupendous, New and Original Historical

Romantic Spectacle of “Nero; Or The Destruction of Rome”’, which included ‘Superb Festal Dances’.

(Connecticut Digital Archive, accessed on 9 June 2018.)
101
      (1890) 45 Ch D 430 at 443.
Case 1:24-cv-00496-JAO-WRP                     Document 49-1           Filed 03/18/25        Page 35 of 42
                                                PageID.1327


           The rule that the covenants of an apprenticeship could not be enforced by action

against an infant did not apply to mere contracts of employment, into which an infant might

also enter. This is evident from Chitty J’s discussion on the motion for injunctions in De

Francesco v Barnum of the case Fellows v Wood. 102 This being urged on him by counsel for

De Francesco as an instance of the granting of an injunction for breach of an infant’s contract

with his master. Chitty J explained that in this case it appeared that not only was the

defendant not an infant when his former master had sought an injunction to restrain him from

taking his customers, having left his service without notice and in breach of contract both as

to notice and as to non-competition, but also that this ‘was not a contract of apprenticeship; it

was a mere contract of service’. 103




Contracts of service

The position with contracts of service was also that infants were free to enter into such

contracts which, unlike indentures of apprenticeship, were enforceable at law and in

equity. 104 Nevertheless, such contracts were only binding on an infant if they were of net

benefit to him or her, which was also true of contracts incidental to employment contracts.

Clements v London & North Western Railway Co. 105 concerned a boy’s employment with the

defendant railway company. On joining the company’s service, he also signed up to an



102
      (1888) 59 LT (NS) 513.
103
      (1889) 43 Ch D 165 at 174.
104
      Though Dorothy George observes that ‘[c]hild labour in those days was generally undertaken under

indentures of apprenticeship’: George, above, n 80, p 118 and generally, chapter VII.
105
      [1894] 2 QB 482.
Case 1:24-cv-00496-JAO-WRP              Document 49-1        Filed 03/18/25       Page 36 of 42
                                         PageID.1328


insurance scheme, which would pay out in the event of an injury, whether or not the fault of

the employer (only provided it was not the result of gross negligence on the part of the

insured). The employee contributed to the scheme from his wages, on a scale, and the

employer also made a contribution. The scheme provided that the employee, in joining the

scheme, agreed to waive any claim against the employer in respect of personal injury in the

course of his employment. It was held that, in deciding whether the contract was binding

upon the infant, ‘the answer to this proposition depends on whether, on the true construction

of the contract as a whole, it was for his advantage’. 106 Lord Esher held that where a contract

is of benefit to the infant, it will be binding upon him. His Lordship came to the conclusion in

this case that as ‘the risk of non-success owing to difficulty of proof, and the risk of obtaining

but small advantage from a successful action, are both obviated by this agreement, under

which, even if it is clear that there is no legal claim which could be enforced against the

company, he is still entitled to compensation’, 107 the infant therefore must derive some

benefit from the contract and so ought to be held bound by it. The converse also follows as

A.L. Smith LJ explained, stating that it would be ‘unfair that he should be bound by it’ 108 if it

were not benefiting him in any way.




Conclusions

So, we submit it can be fairly stated that whatever the rigours of a rougher-mannered age,

when child labour was not only rife but generally seen as desirable or an inevitable part of

life, we nevertheless see, at least when the higher courts become involved, a high bar being


106
      At 489.
107
      At 490.
108
      At 495.
Case 1:24-cv-00496-JAO-WRP              Document 49-1          Filed 03/18/25      Page 37 of 42
                                         PageID.1329


set by the courts for contractual validity, the yardstick of which is benefit to the infant.

Indentures of apprenticeship are struck down as void if not, on balance, beneficial to the

infant. Contracts of service are less common for infants, as infant labour is mainly engaged

under at least the guise of apprenticeship, but these contracts, too, and contracts ancillary to

them, are subject to a test of net benefit. The broad conclusion the authors feel entitled to

draw is that although the times were much harsher on the young than we care to contemplate

today, and society generally less protective of children, the law itself, when called upon

(which might only be possible, admittedly, for those with family, friends and financial

resources), was paternalistic in its outlook and astute to weigh contracts of this sort and see

whether they really were overall to the benefit of the infant.




                                      Statutory Intervention

Whilst common law principles afforded protection to infants buying goods and services on

credit and in relation to training and employment, the law surrounding the repayment of a

loan and moneys owed was less than satisfactory, having undergone little development, save

that penal bonds were unenforceable against infants even before they were rendered generally

void.

        It was doubtless commoner for an infant to require food, lodging, clothing, education

or employment than to need to borrow money, so it makes sense that a more developed

jurisprudence should have evolved in relation to the former transactions. However, the

changing nature of the contracting landscape of infants saw the need to increase regulation

with regard to the lending of money to an infant. Mitchell Henry MP, who introduced the

Infants’ Contracts Bill, which was to become the Infants’ Relief Act 1874, referred the House
Case 1:24-cv-00496-JAO-WRP                       Document 49-1             Filed 03/18/25         Page 38 of 42
                                                  PageID.1330


to ‘the extent to which the money-lenders' conspiracy was carried on against young men and

boys by the issue in extraordinary numbers of circulars and letters tempting them to borrow

money’. 109 Such letters were sent to boys at boarding schools with a view of encouraging

them to borrow money, with the result that young men were burdened with debts that they

could not possibly repay. In an attempt to resolve this, the bill sought to protect ‘a young man

who had been inveigled into the money-lender’s den…’ 110

Clause 1 provided that:

           All contracts, whether by specialty, or by simple contract, henceforth entered into by infants for the

           repayment of money lent or to be lent, or for goods supplied or to be supplied (other than contracts for

           necessaries), and all accounts stated with infants, shall be absolutely void.


while clause 2 prevented ratification and any retrospective enforcement of debt, once the

infant became of full age:

           No action shall be brought whereby to charge any person upon any promise made after full age to pay

           any debt contracted during infancy, or upon any ratification made after full age of any promise or

           contract made during infancy.


Consequently, a lender would be unable to collect if he contracted with an infant, irrespective

of any enquiries he may make as to age and any misrepresentation made by the infant in that

regard. The legislation clearly benefited the improvident infant, but it was seen by some as

imposing too severe a restriction on tradesmen. Sir Massey Lopes MP questioned whether

money-lenders were really that greater a risk to infants than a shopkeeper who, for example,

sold goods to an infant knowing that he was not of full age, ‘were there not other classes



109
      HC Deb 25 June 1873 vol 216 cc 1374-8, 1374. This trend, no doubt, owed its origins to the institution of a

(relatively) cheap, nationwide prepaid postal service in January 1840.
110
      Above, n 109.
Case 1:24-cv-00496-JAO-WRP                    Document 49-1          Filed 03/18/25       Page 39 of 42
                                               PageID.1331


quite as bad – the unscrupulous shopkeepers, for example, who persuaded young men to

order goods they did not want and could not pay for’. 111 In spite of these objections the bill

passed into law. After much criticism, particularly of the difficulties of interpretation of the

words ‘absolutely void’ (did this make it impossible for the infant to enforce such a contract

for his own benefit?) the Act was repealed by s 1 of the Minors’ Contracts Act 1987. In any

event, the Act seems not to have solved the actual problem that had led to its introduction,

viz. unscrupulous lenders targeting boys at public schools, because the issue of sending

circulars to children, either promoting betting or offering loans, resulted in further legislation

less than twenty years later. The Betting and Loans (Infants) Act 1892 made it illegal

knowingly to send communications to infants inciting them to gamble or to borrow money.

Knowledge of the recipient’s infancy was rebuttably presumed by s 3 if the communication

was sent to ‘any person at any university, college, school or other place of education’.

Penalties included fines and/or imprisonment, ‘with or without hard labour’.

           The Latey Report recommended that the Infants Relief Act be repealed, which

received support from academic commentators, for example Downey, who wrote that ‘the

recommendations of the Committee on infants' contracts could usefully be implemented

without delay, if only to get rid of the thoroughly unsatisfactory Infants Relief Act 1874’. 112

However, whilst the 1969 Act effected the reduction in the age of majority, it left the Infants

Relief Act 1874 untouched. The Minors Contracts Act was enacted on 9 April 1987 and, as

already noted, repealed the Infants Relief Act 1874 and also repealed the Betting and Loans

(Infants) Act 1892.




111
      HC Deb 25 June 1873 vol 216 cc 1374-8, 1376.
112
      B Downey, ‘Report of the Committee on the Age of Majority’ (1968) 31 MLR (1968) 429 at 435.
Case 1:24-cv-00496-JAO-WRP                     Document 49-1           Filed 03/18/25        Page 40 of 42
                                                PageID.1332


                                                 Conclusions

As explained in the Introduction to this article, the question of ‘for whose benefit did infants

lack full contractual capacity?’ has been a contested one. The Latey Committee observed

that the then age of full capacity, twenty-one years of age, was arbitrary, but not necessarily

wrong. The committee had received and noted in its Report, however, evidence from the

Church of England’s Board for Social Responsibility (which it is fair to say probably enjoyed

more influence in the mid-1960s than today), that limits on the capacity of young people were

not for their benefit, were for the benefit of others and were motivated by the desire of others

to control the lives and actions of young people. 113 The Report goes on in the following

paragraph to state that this ‘is strongly supported by the evidence’, 114 for which the

committee cites, actually, no evidence and evidence for which is completely lacking in the

Board’s submissions. On the other hand, as we have seen, the judges deciding cases

regarding contractual capacity, spoke quite distinctly in terms of protecting those same young

people, whether from tradesmen on the make, or exploitative masters in the workplace, or

just generally from themselves. The legal realism of the 20th century has taught us to be

sceptical of the language of judgments; to avoid assuming that a case had the outcome it did

for the reasons stated by the judge. The present authors have had this ‘opinion scepticism’ 115

very much in mind. We nevertheless feel forced to the view that the opinion put to the Latey

Committee that the laws on infants’ capacity were framed and administered not in their

interests but to control them in the interests of others, was not only (as already observed)

unsupported by any evidence offered at the time, but ran contrary to the evidence we have


113
      Report of the Committee on the Age of Majority, Cmnd 3342, 1967, para 48.
114
      Above, n 113, para 49.
115
      For a discussion of this concept, see Karl Llewellyn, ‘Some Realism about Realism: Responding to Dean

Pound’ (1931) 44 Harvard Law Review 1222 at 1236-8.
Case 1:24-cv-00496-JAO-WRP               Document 49-1         Filed 03/18/25      Page 41 of 42
                                          PageID.1333


found in more than two centuries’ worth of case law and, incidentally in the late-19th century

legislation. Not only is the judicial rhetoric one of protection of infant parties, but the

outcomes in terms of directions given by judges are strongly and consistently so.

        As the law on necessaries became both more developed and more nuanced by social

standing and wealth, we see a lessening of the absoluteness of protection given to infants, in

favour of some concession to tradesmen, but it is gradual and always seems reasonable,

provided it is seen in a sufficiently richly textured social-historical context (and this is

important). And if one distinguishes between directions given by judges from verdicts given

by juries, often made up as they were of local tradesmen, then the desire of the judges to

protect infants from both their own youthful susceptibility and improvidence and the rapacity

of tradesmen bent on profiting from those qualities in their customers, becomes all the more

marked. Some of the cases can be seen in terms of a contest between a judge protective of

the infant defendant and a jury protective of the interests of the plaintiff businessmen.

        We have no hesitation in concluding that, put shortly, the law’s motive in limiting

infants’ contractual capacity was firmly rooted in a genuine desire to protect the young; to

keep youthful indiscretion and improvidence or (especially in the case of apprenticeships or

contracts of service) mere vulnerability, from ruining their adult lives.

        Today, the question of the contractual capacity of young persons has to a large extent

dropped off the lawyer’s and the jurist’s radars, since majority and full contractual capacity is

attained at an age when the young person is almost certain still to be living under the parental

roof. Whether the world of e-commerce, ‘smart phones’, ‘in-app purchases’, social media

devoted to the marketizing of young people’s interactions and data, will offer a challenge to

the current situation in this regard is a matter for speculation. There are those who press for

the voting age to be reduced. If it is, then should we also say, ‘if they’re responsible enough
Case 1:24-cv-00496-JAO-WRP                      Document 49-1           Filed 03/18/25         Page 42 of 42
                                                 PageID.1334


to vote, they are responsible enough to be bound to other decisions, for instance to obtain

credit’? If this is debated and there is one day a successor to the Latey Committee, then, in

the submission of the present authors, its members should be advised that the law has always

protected the young from the ill consequences of bad decisions so far as it can, in the

contractual field. The controls that are there are not controls for the sake of control but for

the sake of welfare. In the policy world of the ‘vulnerable consumer’, history shows us that

one vulnerable group, at least, has always had protection and we should be careful not to cast

that aside on the basis of mere supposition and fashionable sentiment. 116




116
      The point that new technologies may be a cause for re-examining the position has not been entirely missed,

however, see V Slade, ‘The Infancy Defense in the Modern Contract Age: A Useful Vestige’ (2011) 34 Seattle

University Law Review 613, which cites other interesting work in the United States relating to this question,

which is strictly beyond the scope of the present article.
